        Case 1:97-cr-05266-AWI Document 728 Filed 01/20/06 Page 1 of 1


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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

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9    TERRY CRANDALL MINCEY,            )       No. CV-F-04-6373 REC
                                       )       (No. CR-F-97-5266 REC)
10                                     )
                                       )       ORDER DECLINING TO ISSUE
11                    Petitioner,      )       CERTIFICATE OF APPEALABILITY
                                       )
12              vs.                    )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                    Respondent.      )
                                       )
16                                     )

17        The court hereby declines to issue a certificate of

18   appealability in connection with the claims raised in

19   petitioner's motion to vacate, set aside or correct sentence

20   pursuant to 28 U.S.C. § 2255, the court concluding that

21   petitioner has not made a substantial showing of the denial of a

22   constitutional right with respect to these claims.

23   IT IS SO ORDERED.

24   Dated:   January 19, 2006                     /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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